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                                                                                 New York, NY 10166-4193
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approved)); Associated Press v. United States, 326 U.S. 1 (1945) (forbidding members from doing
business with non-members held per se unlawful)); see also Am. Soc’y of Mech. Eng’rs v.
Hydrolevel Corp., 456 U.S. 556 (1982) (letter sent to customers stating plaintiff’s product did not
meet society’s safety standards unreasonably restrained trade by discouraging customers from
buying plaintiff’s product); N.C. State Bd. of Dental Exam’rs v. F.T.C., 717 F.3d 359 (4th Cir. 2013)
(letters claiming teeth whitening by non-dentists was a violation and asking malls to stop leasing
space to non-dentist teeth whiteners effectuated group boycott regardless of “incantation of ‘good
medical practice’”), aff ’d, 574 U.S. 494 (2015); see also Big Bear Lodging Ass’n v. Snow Summit,
Inc., 182 F.3d 1096 (9th Cir. 1999) (rule prohibiting members from doing business with non-
members stated a per se unlawful group boycott by “restrict[ing] non-members’ access to
customers”).

        We understand that LegitScript has unreasonably restrained trade by inappropriately
coercing customers to stop doing business with Empower based on (1) LegitScript’s inappropriate
enforcement of LegitScript Healthcare Merchant Certification Standard 7: Affiliates against
Empower’s customers, which are not legally Empower’s “affiliates” in any event; (2) a new rule
prohibiting LegitScript-certified businesses from buying products from non-LegitScript-certified
503A pharmacies or 503B outsourcing facilities; and (3) false, misleading, and commercially
disparaging statements pertaining to purported regulatory compliance issues that either have been
resolved or that complied with prior regulatory requirements at the time the sales at issue were
made. LegitScript’s anticompetitive restrictions are not reasonably necessary to achieve a
procompetitive benefit, but instead have unreasonably restricted customers’—and thus patients’—
access to safe and less expensive life-changing therapies at a time when brand manufacturers have
been unable to satisfy patient needs, thereby restricting the overall output of these medications and
causing actual adverse effects on the market.

        Based on LegitScript’s certification of other pharmacies that have had far more serious
problems with regulatory compliance in the recent past, Empower is further concerned by the
apparently biased and uneven application of LegitScript’s certification standards that have led to
the repeated denial of Empower’s applications for certification. Indeed, the sparse communication
as to the basis for denying these applications suggest they were denied at least in part based on the
mischaracterization of Empower as an “online pharmacy.” As background, Empower Pharmacy
submitted its first application for a LegitScript Healthcare Merchant Certification in 2018. Only
Empower Pharmacy, the 503A compounding pharmacy side of its business, applied for
certification. Empower Pharmacy’s 2018 application for certification was denied. Subsequently,
Empower Pharmacy reapplied in 2022; that application, too, was denied. Empower Pharmacy
then submitted an appeal through LegitScript’s appeals process in or around January 2023.
Empower Pharmacy’s appeal was also denied. Empower Pharmacy submitted a new application
in or around March 2024. This application, too, was rejected without clear substantiation for
LegitScript’s decision, and this time, LegitScript imposed a wholly arbitrary six-month waiting
period on Empower Pharmacy before it could even submit a new application. Despite requesting
guidance as to LegitScript’s certification standards and the reasons underlying LegitScript’s
denials of Empower’s applications to ensure a successful process this time around, see Ex. A,

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LegitScript has refused to provide such information. LegitScript’s application process is only
meaningful and appropriate if it contains “safeguards sufficient to prevent the standard setting
process from being biased.” See Allied Tube & Conduit Corp. v. Indian Head, Inc., 486 US. 492,
509 (1986). To date, LegitScript has failed to provide any such safeguards, much less basic
information underlying its repeated denials of Empower’s applications.

       As just one example, LegitScript’s imposition of a six-month waiting period on Empower
Pharmacy cannot be anything but arbitrary and biased. LegitScript stated that the waiting period
was to allow Empower Pharmacy to “demonstrate sustained compliance” with LegitScript’s
standards. This suggests not only that Empower Pharmacy had already come into compliance with
LegitScript’s certification standards, but that LegitScript imposed an arbitrary waiting period on
Empower Pharmacy instead of awarding the “probationary certification” status granted to other
applicants that LegitScript has concluded “require increased monitoring and review.”

         LegitScript’s refusal to provide Empower with a reasonable path to certification and its
unlawful coercion requiring customers to boycott Empower have damaged Empower’s business,
relationships, and customer goodwill. As a direct result of LegitScript’s communications with
customers, a significant number of customers have either reduced their volume of business with
Empower or have terminated their accounts altogether. While we hope to resolve this legal dispute
without litigation, we write to provide notice that LegitScript should now reasonably anticipate
litigation and should preserve all documents, data, and communications with and about
competitors, the Alliance for Safe Online Pharmacies (ASOP), the Center for Safe Internet
Pharmacies (CSIP), other organizations, conferences, and statements relating to branded drugs,
generic drugs, compounding pharmacies, outsourcing facilities, certification standards, Empower,
and Empower’s customers. We further provide notice of these claims to enable LegitScript to
cease and desist its unlawful communications to Empower customers and thus to mitigate
Empower’s damages.

        Given the seriousness of this matter and the ongoing harm LegitScript’s conduct is causing
to Empower’s business, we ask that you respond shortly by no later than February 3, 2025 to
discuss your willingness to resolve this matter without court intervention. If we do not hear from
you by February 3, we will assume that you are not interested in resolving this matter absent legal
proceedings. We look forward to hearing from you and hope that we can amicably resolve this
significant legal dispute.


                                                     Sincerely,
                                                     /s/ Susannah P. Torpey




                                                3

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                   EXHIBIT A




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October 10, 2024


BY ELECTRONIC MAIL:
certification@legitscript.com


       RE:     LegitScript Certification of Empower Pharmacy

Dear LegitScript Certification Team,

        We write to seek clarification regarding LegitScript’s denial of the application by Empower
Pharmacy (“Empower”) for Healthcare Merchant Certification. As you know, Empower is a 503A
compounding pharmacy seeking certification from LegitScript. To date, and for reasons not made
clear to Empower, LegitScript has not granted Empower a LegitScript certification. Therefore,
Empower requests additional information to help us understand the grounds for denial and ensure
Empower’s successful certification going forward.

        Empower first applied for a Healthcare Merchant Certification from LegitScript in
November 2022. Subsequently, just one month later, LegitScript rejected Empower’s application,
providing only vague and generalized reasons for its denial. Nonetheless, through the LegitScript
appeals process, Empower challenged the Certification Board’s decision in January 2023.
Throughout the appeals process, LegitScript requested—and Empower provided—supplemental
information and documentation, including Empower’s quarterly reports submitted to the California
Board of Pharmacy and facility inspection reports. After reviewing the documentation that
Empower provided, LegitScript informed Empower in August 2023 that it continued to have
concerns regarding Empower’s regulatory compliance. With minimal guidance as to what
information it could provide to alleviate LegitScript’s concerns, Empower nevertheless
endeavored to respond to LegitScript’s request to the best of its ability. Despite Empower’s
diligent efforts to address LegitScript’s outstanding concerns, LegitScript ultimately denied
Empower’s appeal.

         In 2024, Empower submitted a new application for LegitScript certification. Empower
kept its new application up-to-date and remained responsive to each and every one of LegitScript’s
questions. In May 2024, LegitScript informed Empower that it would be moving forward with a
formal review of Empower’s application. LegitScript then sent Empower a link to a questionnaire
and a request for additional information. As with previous applications, Empower obliged and
provided LegitScript with the requested supplemental information and documents. Once again,
on June 24, 2024 LegitScript denied Empower’s application for certification. LegitScript also
imposed an unexpected six-month waiting period (ending December 24, 2024) before Empower
would even be eligible to reapply. The reason, LegitScript wrote, was to “allow for adequate time
to demonstrate sustained compliance with [LegitScript’s] Certification Standards.” LegitScript
also stated its desire that the following three items be resolved in order for certification to move
forward:



                                                   1

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   •    “All state board of pharmacy consent orders, disciplinary action, and stipulation orders are
        required to be closed out.”

   •    “FDA acknowledgement that the response provided by Empower to the FDA Form 483 is
        sufficient.”

   •    “We require inspection reports (both self-assessment and the assessment performed by the
        hired inspector) for Q2-Q4.”

       Empower understands that LegitScript does not frequently deny applications unless
applicants are unwilling to come into compliance with LegitScript’s standards. Empower also
understands that LegitScript generally works with applicants to ensure they are able to come into
compliance with LegitScript’s standards for certification. To that end, Empower requests the
following information from LegitScript to better understand the expectations and criteria set forth
by your organization.

        (1) Please provide the LegitScript criteria, as well as any other instructions, that may be
            used for evaluating and coming into compliance with the three items listed above from
            LegitScript’s June 24, 2024 email to Empower.

        (2) How does LegitScript define “online pharmacy?”

        (3) What certification criteria applies to a non-“online pharmacy” or mail order pharmacy?

        (4) At what point is a prior regulatory activity or disciplinary action “closed out” for the
            purposes of LegitScript certification?

        (5) What criteria does LegitScript use to determine when an applicant is eligible for
            monitoring and supervision to assess suitability for probationary certification?

        (6) What criteria does LegitScript use to assess whether to grant probationary certification?

        (7) What acceptable methods may an applicant use to satisfactorily demonstrate to
            LegitScript that it has “demonstrated a commitment to compliance” during the period
            between applications?

        (8) How often does LegitScript modify its certification standards?

        (9) When was the last time LegitScript modified its certification standards?

        (10)    What weight does LegitScript give to PCAB accreditations?

        (11) What criteria does LegitScript use to determine whether to impose a waiting
            period?




                                                    2

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       (12) What criteria does LegitScript use to determine the appropriate waiting period
           before reapplication after an application has been denied?

       (13) Is there a standard amount of time for a waiting period, and if not, how long is the
           typical waiting period?

       (14) To the extent that LegitScript is able, please provide your internal Standard
           Operating Procedures that address confidentiality of data collected during an
           applicant’s certification process.

       (15) Per LegitScript’s internal policies and procedures, to what extent is LegitScript
           permitted to share or disseminate information and data collected from an applicant
           during its certification process?

        Empower would greatly appreciate a prompt response to the questions above and would
like to please schedule a call to discuss whatever information LegitScript can provide along these
lines. This information will enable us to better understand LegitScript’s requirements and to make
any adjustments as needed to improve any future applications. Please let us know your next
availability to discuss these issues, which are of critical importance to Empower’s business and
customer relationships. Thank you for your time and consideration. We look forward to hearing
from you soon.

       Sincerely,

       /s/


       Vice President, Compliance
       Empower Pharmacy




                                                   3

                                                                                             Exhibit 11
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